      EXHIBIT 21




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From: John Holland
Sent: Friday, September 13, 2019 5:09 PM
To: Dan Holland (Gmail)
Cc: argyrok@paragontruss.com; Suzi Grundahl; Lindsay Braxler
Subject: Re: Invoice requested

Based on the last spreadsheet I was sent, the software usage is supposed to be 0.018 instead of 0.016. Dan what price
did you and Kirk agree on?




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